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       ORDERED in the Southern District of Florida on July 18, 2022.




                                                 Robert A. Mark, Judge
_____________________________________________________________________________
                                                 United States Bankruptcy Court



                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                                        CASE NO: 17-15556-BKC-RAM
       IN RE:                                           CHAPTER 13
       CHARLOTTE H. CAMEJO,
                        DEBTOR(S).      /


       ORDER CONTINUING TRUSTEE’S MOTION FOR ORDER TO SHOW CAUSE, IN ADDITION
       TO MOTION FOR DISGORGEMENT OF FEES AGAINST SAMUEL SOROTA (ECF #120)

             This case came to be heard on July 12, 2022, upon the Trustee’s
       Motion for Order to Show Cause, in addition to Motion for Disgorgement
       of Fees Against Samuel Sorota, it is
             ORDERED as follows:
             1.   The Trustee’s Motion (ECF #120) is continued to August 23,
       2022 at 9:00AM by VIDEO CONFERENCE. You must register in advance no
       later than 3:00 PM, one business day before the hearing. To register,
       click on or enter the following registration link in a browser:
       https://www.zoomgov.com/meeting/register/vJItdOyvrjIvGmlCDrtlqCZ
       rs_TzvTdyAJ0.




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PREPARED BY:
NANCY K. NEIDICH, ESQUIRE, STANDING CHAPTER 13 TRUSTEE
P.O. BOX 279806, MIRAMAR, FL 33027-9806

NANCY K. NEIDICH, ESQUIRE is directed to serve a copy of this Order
on interested parties who do not receive service by CM/ECF, and file
a proof of such service within two (2) business days from entry of
the Order.
